Exhibit 2

Sale Notice
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                       ) Chapter 11
                                                 )
    DORMIFY, INC., 1                             )
                                                 ) Case No. 24-12634 (TMH)
                     Debtor.                     )
                                                 )

    THE DEBTOR PROPOSES SELL SUBSTANTIALLY ALL OF ITS ASSETS. IF YOU
        BELIEVE YOU HOLD ANY INTEREST IN THOSE ASSETS, WHETHER
     CONTRACTUAL OR OTHERWISE, YOU MUST FILE A PLEADING WITH THE
    COURT STATING SO IN ACCORDANCE WITH THIS NOTICE. IF YOU FAIL TO
    DO SO, THE ASSETS WILL BE SOLD FREE AND CLEAR OF YOUR INTERESTS.


     NOTICE OF BIDDING PROCEDURES, AUCTION DATE, POTENTIAL SALE AND
             DEADLINE TO ASSERT INTEREST IN DEBTOR’S ASSETS

        PLEASE TAKE NOTICE that, on November 18, 2024, Dormify, Inc. (the “Debtor”)
filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”), in the United States Bankruptcy Court for the District of Delaware (the
“Court”).

        PLEASE TAKE FURTHER NOTICE that, on February 7, 2025, the Debtor filed the
Debtor’s Motion for Orders (I)(a) Approving Bidding Procedures for the Sale of the Debtor’s
Assets and the Form and Manner of Notice Related Thereto, (b) Authorizing the Debtor to Select
a Stalking Horse Bidder and Enter into a Purchase Agreement with Such Bidder Providing for
Certain Bid Protections, and (c) Approving Procedures for the Assumption and Assignment of
Executory Contracts and Unexpired Leases; (II)(a) Approving the Sale of the Debtor’s Assets,
Free and Clear of all Interests, and (b) Authorizing the Assumption and Assignment of Certain
Executory Contracts and Unexpired Leases; and (III) Granting Related Relief [D.I. 115] (the
“Motion”).

        PLEASE TAKE FURTHER NOTICE that, on [●], 2025, the Court entered that certain
Order (I)(a) Approving Bidding Procedures for the Sale of the Debtor’s Assets and the Form and
Manner of Notice Related Thereto, (b) Authorizing the Debtor to Select a Stalking Horse Bidder
and Enter into a Purchase Agreement with Such Bidder Providing for Certain Bid Protections,
and (c) Approving Procedures for the Assumption and Assignment of Executory Contracts and
Unexpired Leases; (II) Scheduling the Auction and the Hearing to Consider Approval of the Sale,
and (III) Granting Related Relief [D.I. [●]] (the “Bidding Procedures Order”),2 which approved,


1
         The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax
identification number, is: Dormify, Inc. (5123). The location of the Debtor’s corporate headquarters is 286
5th Avenue, Floor 11, New York, NY 10001.
2
             Capitalized terms used but not defined have the meanings ascribed to them in the Bidding
among other things, (a) procedures (the “Bidding Procedures”) pursuant to which the Debtor is
authorized to solicit and pursue a sale of substantially all of the Debtor’s assets (the “Assets”) under
section 363 of the Bankruptcy Code (the “Sale”), (b) the scheduling of a hearing to approve the
Sale free and clear of any liens, claims, and encumbrances under section 363 of the Bankruptcy
Code, (c) procedures in connection with the assumption and assignment of any executory contracts
or unexpired leases the Debtor seeks to have assumed and assigned in connection with a Sale, and
(b) a sale process. All interested bidders should carefully read the Bidding Procedures Order
and the Bidding Procedures in their entirety.

       PLEASE TAKE FURTHER NOTICE that all interested parties are invited to provide
materials (as described in the Bidding Procedures) to apply to become a Potential Bidder (as
defined in the Bidding Procedures) and submit a Bid in accordance with the Bidding Procedures
and the Bidding Procedures Order. The Bidding Procedures provide information regarding the
requirements for a Potential Bidder to be a “Qualified Bidder” and a bid to be a “Qualified Bid”
for purposes of competing at an Auction (as defined below).

         PLEASE TAKE FURTHER NOTICE that the deadline to submit a Qualified Bid for the
Assets or component thereof is April 18, 2025 at 4:00 p.m. (prevailing Eastern Time) (the “Bid
Deadline”). Pursuant to the Bidding Procedures Order, in the event that the Debtor timely receives
one or more Qualified Bids other than one from the Stalking Horse Bidder, if any, the Debtor is
authorized to conduct an auction (the “Auction”) for the Assets in accordance with the Bidding
Procedures Order. The Auction, if held, will occur on April 21, 2025 at 10:00 a.m. (prevailing
Eastern Time) at a place, including via remote video, determined by the Debtor as shall be timely
communicated to all entities entitled to attend the Auction. Only (a) Qualified Bidders (including
the Stalking Horse Bidder, if any) and their legal and financial advisors, (b) the Consultation
Parties and their respective advisors, and (c) actual creditors of the Debtor (provided that they give
at least 48 hours’ notice to the Debtor’s counsel of their intention to attend an Auction via email
to Goldstein & McClintock LLLP, Attn: Maria Aprile Sawczuk (marias@goldmclaw) and Joshua
Grenard (joshuag@goldmclaw.com)), shall be entitled to attend an Auction. If an Auction is
cancelled, the Debtor shall file a notice of cancellation of the Auction.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the Sale (the “Sale
Objections”), including, but not limited to, any objections to (i) the conduct at the Auction; (ii) the
form of the Sale Order; or (iii) solely with respect to the Non-Debtor Counterparties to the
Contracts, to the specific identity of and adequate assurance of future performance provided by the
Successful Bidder, shall be in writing, shall conform to the Federal Rules of Bankruptcy Procedure
and the Local Rules of the United States Bankruptcy Court for the District of Delaware, shall set
forth the name of the objecting party, the nature and amount of any claims or interests held or
asserted against the Debtor’s estate or properties, the basis for the objection, and the specific
grounds therefore, and shall be filed and served upon the following so that such objections are
received by April 24, 2025 at 4:00 p.m. (prevailing Eastern Time) (the “Sale Objection
Deadline”): (a) counsel for the Debtor, (i) Goldstein & McClintock LLLP, (Attn: Maria Aprile
Sawczuk (marias@goldmclaw) and Matt McClintock (joshuag@goldmclaw.com)), (b) counsel for
the Committee, Potter Anderson & Corroon LLP (Attn: R. Stephen McNeill
(rmcneill@potteranderson.com) and Maria Kotsiras (mkotsiras@potteranderson.com)); (c) the
Office of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207,

Procedures Order.


                                                   2
Wilmington, Delaware, 19801 (Attn: Jonathan W. Lipshie (Jon.Lipshie@usdoj.gov)); (d) counsel
to the DIP Lender, Bayard, P.A. (Attn: Ericka F. Johnson (ejohnson@bayardlaw.com) and Steven
D. Adler (sadler@bayardlaw.com); and (e) the Notice Parties.

        PLEASE TAKE FURTHER NOTICE that failure of any entity to file an objection on or
before the Sale Objection Deadline shall be deemed to constitute consent to the sale of the Assets
to the Successful Bidder and the other relief requested in the Motion, and be a bar to the assertion,
at the Sale Hearing or thereafter, of any objection to the Motion, the Auction, the Sale, or the
Debtor’s consummation and performance of the terms of the applicable Definitive Purchase
Agreement.

        PLEASE TAKE FURTHER NOTICE that the Bidding Procedures Order provides that
a hearing to approve the Sale of the applicable Assets to the Successful Bidder shall take place on
April 28, 2025 at 11:00 a.m. (prevailing Eastern Time) (the “Sale Hearing”). The Sale Hearing
will be held before the Honorable Thomas M. Horan, at the United States Bankruptcy Court for
the District of Delaware, 824 N. Market Street, Wilmington, DE 19801.

       For ease of reference, the following chart has been included to summarize key dates
relevant to this notice:3

        Event or Deadline                                       Date and Time
    Bidding Procedures Hearing February 21, 2025 at 10:00 a.m. (prevailing Eastern Time)
    Service and Publication of       One (1) business day after entry of Bidding Procedures Order or
    Sale Notice                      as soon as reasonably practicable thereafter
    Debtor’s Deadline to File        March 3, 2025
    and Serve Cure Notices
    Cure/Assignment Objection        March 17, 2025 at 4:00 p.m. (prevailing Eastern Time)
    Deadline
    Deadline to Designate            March 3, 20254
    Stalking Horse Bid

    Debtor’s Deadline to File        Two (2) business days after entering into such agreement
    Stalking Horse Notice (if
    necessary)
    Bid Deadline                     April 18, 2025 at 4:00 p.m. (prevailing Eastern Time)
    Determination of Qualified       April 20, 2025
    Bids




3
          All dates, times, and deadlines are subject to change or modification in accordance with the Bidding
      Procedures Order.
4
          In all events, the Debtor will file any Stalking Horse Agreement at least 14 days prior to the Sale
      Hearing (as such term is defined and described herein).

                                                       3
        Event or Deadline                                      Date and Time
    Auction (if necessary)           April 21, 2025 at 10:00 a.m. (prevailing Eastern Time) at a place,
                                     including via remote video, to be announced.5
    Identification of Successful     April 23, 2025 at 4:00 p.m. (prevailing Eastern Time)
    Bidder and Backup Bidder,
    if any
    Sale Objection Deadline          April 24, 2025 at 4:00 p.m. (prevailing Eastern Time)
    Sale Hearing                     April 28, 2025 at 11:00 a.m. (prevailing Eastern Time) or as soon
                                     thereafter as the Court’s calendar permits
    Sale Closing Deadline            April 30, 2025

        PLEASE TAKE FURTHER NOTICE that this notice is subject to the full terms and
conditions of the Motion, the Bidding Procedures Order, and the Bidding Procedures, and the
Debtor urges parties in interest to review such documents in their entirety. Copies of the Motion,
the Stalking Horse Agreement, if any, the Bidding Procedures, and the Bidding Procedures Order,
in addition to any related documents that may be filed, may be obtained by accessing (a) the
website of the Debtor’s notice and claims agent, Reliable, at https://www.bankruptcy-
claims.com/dormify/ for no charge, or (b) the Court’s internet site: https://ecf.deb.uscourts.gov,
for a fee, through an account obtained from the PACER website at http://pacer.psc.uscourts.gov.

          CONSEQUENCES OF FAILING TO TIMELY FILE AND SERVE A SALE
                                OBJECTION

     ANY PARTY OR ENTITY THAT FAILS TO TIMELY FILE AND SERVE AN
OBJECTION ON OR BEFORE THE SALE OBJECTION DEADLINE IN ACCORDANCE
WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED AND
ESTOPPED FROM (A) ASSERTING ANY INTEREST IN OR DISPUTING THAT THE
DEBTOR HOLDS EXCLUSIVE TITLE TO, THE ASSETS AND (B) THAT THE DEBTOR
HAS THE ABILITY TO TRANSFER SUCH ASSETS FREE AND CLEAR OF THE
CLAIMS OR INTERESTS WITHOUT THE CONSENT OF ANY PARTY.

     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING. ANY CREDITOR THAT RECEIVES NOTICE OF
A SALE HEARING AND FAILS TO TIMELY FILE AN OBJECTION TO THE SALE ON
OR BEFORE THE SALE OBJECTION DEADLINE IN ACCORDANCE WITH THE
BIDDING PROCEDURES ORDER SHALL BE DEEMED TO HAVE CONSENTED
UNDER SECTION 363(F)(2) OF THE BANKRUPTCY CODE TO SUCH SALE FREE
AND CLEAR OF SUCH CREDITOR’S LIEN, CLAIMS, ENCUMBRANCES, OR
INTERESTS, IF ANY.



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      If the Debtor decides to hold a live, in-person Auction, Qualified Bidders shall be able to submit Bids
      remotely.


                                                      4
GOLDSTEIN & MCCLINTOCK LLLP

By: /s/ Maria Aprile Sawczuk
Maria Aprile Sawczuk, Esq. (Bar ID 3320)
501 Silverside Road, Suite 65
Wilmington, DE 19809
Telephone: (302) 444-6710
marias@goldmclaw.com

-and-

Harley J. Goldstein, Esq. (admitted pro hac vice)
Ainsley G. Moloney, Esq. (admitted pro hac vice)
Joshua M. Grenard, Esq. (admitted pro hac vice)
William H. Thomas, Esq. (admitted pro hac vice)
111 W. Washington Street, Suite 1221
Chicago, IL 60602
Telephone: (312) 337-7700
harleyg@goldmclaw.com
ainsleym@goldmclaw.com
joshuag@goldmclaw.com
willt@goldmclaw.com

Attorneys for the Debtor and Debtor-in-
Possession




5
 Exhibit 3

Cure Notice
                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:                                         ) Chapter 11
                                                   )
    DORMIFY, INC., 1                               )
                                                   ) Case No. 24-12634 (TMH)
                  Debtor.                          )
                                                   )

                    NOTICE OF (I) POTENTIAL ASSUMPTION AND
                 ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS
              AND UNEXPIRED LEASES AND (II) PROPOSED CURE AMOUNTS

       You are receiving this notice (this “Notice”) because you may be a counterparty to a
contract or lease with the Debtor (defined below) as set forth on Appendix A hereto. Please
read this notice carefully as your rights may be affected by the transactions described
herein.2

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On November 18, 2024, Dormify, Inc. (the “Debtor”) filed a voluntary petition for
relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), in the United
States Bankruptcy Court for the District of Delaware (the “Court”).

       2.       On February 7, 2025, the Debtor filed the Debtor’s Motion for Orders (I)(a)
Approving Bidding Procedures for the Sale of the Debtor’s Assets and the Form and Manner of
Notice Related Thereto, (b) Authorizing the Debtor to Select a Stalking Horse Bidder and Enter
into a Purchase Agreement with Such Bidder Providing for Certain Bid Protections, and (c)
Approving Procedures for the Assumption and Assignment of Executory Contracts and Unexpired
Leases; (II)(a) Approving the Sale of the Debtor’s Assets, Free and Clear of all Interests, and (b)
Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases; and (III) Granting Related Relief [D.I. 115] (the “Motion”).

        3.     On [●], 2025, the Court entered that certain Order (I)(a) Approving Bidding
Procedures for the Sale of the Debtor’s Assets and the Form and Manner of Notice Related
Thereto, (b) Authorizing the Debtor to Select a Stalking Horse Bidder and Enter into a Purchase
Agreement with Such Bidder Providing for Certain Bid Protections, and (c) Approving Procedures
for the Assumption and Assignment of Executory Contracts and Unexpired Leases; (II) Scheduling
the Auction and the Hearing to Consider Approval of the Sale, and (III) Granting Related Relief


1
 The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification
number, is: Dormify, Inc. (5123). The location of the Debtor’s corporate headquarters is 286 5th Avenue,
Floor 11, New York, NY 10001.
2
 This Notice is being sent to counterparties to contracts and leases that may be executory contracts and
unexpired leases. This notice is not an admission by the Debtor that such contract or lease is executory or
unexpired.
[D.I. [●]] (the “Bidding Procedures Order”),3 which approved, among other things, (a) procedures
(the “Bidding Procedures”) pursuant to which the Debtor is authorized to solicit and pursue a sale
of substantially all of the Debtor’s assets (the “Assets”) under section 363 of the Bankruptcy Code
(the “Sale”), (b) the scheduling of a hearing to approve the Sale free and clear of any liens, claims,
and encumbrances under section 363 of the Bankruptcy Code, (c) procedures in connection with
the assumption and assignment of any executory contracts or unexpired leases the Debtor seeks to
have assumed and assigned in connection with a Sale, and (d) a sale process.

        4.     Pursuant to the Bidding Procedures Order: the Sale Hearing is scheduled to take
place on April 28, 2025 at 11:00 a.m. (prevailing Eastern Time). The Sale Hearing will be held
before the Honorable Thomas M. Horan, at the United States Bankruptcy Court for the District of
Delaware, 824 N. Market Street, Wilmington, DE 19801.4

        5.     Pursuant to the Bidding Procedures Order, the Debtor may assume and assign to a
Stalking Horse Bidder, Backup Bidder, or a Successful Bidder other than the Stalking Horse
Bidder or the Backup Bidder, the executory contract(s) or unexpired lease(s) listed on Appendix A
attached hereto (each, a “Contract”) to which you are a counterparty. The Debtor has conducted
a review of its books and records and has determined that the cure amounts required to be paid
pursuant to Bankruptcy Code section 365(b) in respect of such Contract(s) (the “Cure Amount”)
are as set forth on Appendix A attached hereto. If you disagree with the proposed Cure
Amount, you must file an objection (a “Cure/Assignment Objection”), stating with specificity
the nature of your objection, with the Bankruptcy Court no later than 4:00 p.m. (prevailing
Eastern Time) on March 17, 2025 (the “Cure/Assignment Objection Deadline”). Cure
Objections must be filed and served so as to be actually received by the Cure Objection Deadline
by: (a) counsel for the Debtor, Goldstein & McClintock LLLP, (Attn: Maria Aprile Sawczuk
(marias@goldmclaw) and Joshua Grenard (joshuag@goldmclaw.com)); (b) counsel for the
Committee of Unsecured Creditors, Potter Anderson & Corroon LLP (Attn: R. Stephen McNeill
(rmcneill@potteranderson.com) and Maria Kotsiras (mkotsiras@potteranderson.com)); (c) the
Office of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207,
Wilmington, Delaware, 19801 (Attn: Jonathan W. Lipshie (Jon.Lipshie@usdoj.gov)); (d) counsel
to the DIP Lender, Bayard, P.A. (Attn: Ericka F. Johnson (ejohnson@bayardlaw.com) and Steven
D. Adler (sadler@bayardlaw.com); and (e) the Notice Parties listed in the Bidding Procedures
Order.

        6.     The Debtor proposes that if the counterparty to any Contract(s) fails to file an
objection by the Cure/Assignment Objection Deadline to the Cure Amount(s), then that
counterparty shall be (i) deemed to have agreed and stipulated to the accuracy of the Cure
Amount(s) set forth on this Appendix A, and (ii) forever barred, estopped, and enjoined from
asserting any additional cure amount under or in respect of the Contract(s).

       7.      Promptly following the Debtor’s selection of the Successful Bidder and the
conclusion of the Auction (if any), the Debtor shall file notice of the Successful Bid and Successful

3
 Capitalized terms used but not defined have the meanings ascribed to them in the Bidding Procedures
Order.
4
 Dates relating to the Sale, including the scheduled dates for the Auction and Sale Hearing, may be changed
in accordance with the Bidding Procedures Order.
Bidder (the “Successful Bidder Notice”) with the Bankruptcy Court no later than April 23, 2025 at
4:00 p.m. (prevailing Eastern Time).

       8.      If any Auction is held, the deadline for non-Debtor counterparties to the Contracts
to object solely with respect to the specific identity of and adequate assurance of future
performance provided by the Successful Bidder is 4:00 p.m. (prevailing Eastern Time) on April
24, 2025 (the “Sale Objection Deadline”). Any such objection must be filed with this Court and
served in the same manner as a Cure/Assignment Objection set forth above so to be actually
received no later than the Sale Objection Deadline.

        9.     With respect to any Contract(s) assumed and assigned to the Successful Bidder
(the “Assumed Contracts”), if a non-Debtor party to an Assumed Contract has objected solely to
the proposed Cure Amount, the Debtor may, with the consent of, or at the direction of, the
Successful Bidder, pay the undisputed portion of such Cure Amount and place the disputed amount
in a segregated account pending further order of the Court or mutual agreement of the parties. So
long as such disputed amounts are held in such segregated account, the Debtor may, without delay,
assume and assign such Assumed Contract to the applicable assignee. Under such circumstances,
the objecting non-Debtor counterparty’s recourse is limited to the funds held in such segregated
account.

       10.      Following the payment of the Cure Amount(s) (subject to the preceding paragraph),
the Debtor’s filing and service of a notice regarding the closing of a Sale shall serve as notice that
such Assumed Contracts have actually been assumed and assigned.

         11.     Notwithstanding anything herein, this notice shall not be deemed to be an
assumption, assignment, adoption, rejection, termination, or concession to the executory nature of
any Contract(s). Moreover, the Debtor explicitly reserves its rights, in its sole discretion, to reject
or assume each Contract pursuant to section 365(a) of the Bankruptcy Code and nothing herein
(a) alters in any way the prepetition nature of the Contract(s) or the validity, priority, or amount of
any claims of a counterparty to any Contract against the Debtor that may arise under such Contract,
(b) creates a postpetition contract or agreement, or (c) elevates to administrative expense priority
any claims of an counterparty to a Contract against the Debtor that may arise under such Contract.

        12.     This notice is subject to the full terms and conditions of the Motion, the Bidding
Procedures Order, and the Bidding Procedures, which shall control in the event of any conflict,
and the Debtor urges parties in interest to review such documents in their entirety. Copies of the
Motion, the Stalking Horse Agreement, if any, the Bidding Procedures, and the Bidding
Procedures Order, in addition to any related documents that may be filed, may be obtained by
accessing (a) the website of the Debtor’s notice and claims agent, Reliable, at
https://www.bankruptcy-claims.com/dormify/ for no charge, or (b) the Court’s internet site:
https://ecf.deb.uscourts.gov, for a fee, through an account obtained from the PACER website at
http://pacer.psc.uscourts.gov.
GOLDSTEIN & MCCLINTOCK LLLP

By: /s/ Maria Aprile Sawczuk
Maria Aprile Sawczuk, Esq. (Bar ID 3320)
501 Silverside Road, Suite 65
Wilmington, DE 19809
Telephone: (302) 444-6710
marias@goldmclaw.com

-and-

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Joshua M. Grenard, Esq. (admitted pro hac vice)
William H. Thomas, Esq. (admitted pro hac vice)
111 W. Washington Street, Suite 1221
Chicago, IL 60602
Telephone: (312) 337-7700
harleyg@goldmclaw.com
ainsleym@goldmclaw.com
joshuag@goldmclaw.com
willt@goldmclaw.com

Attorneys for the Debtor and Debtor-in-
Possession
                    APPENDIX A TO CURE NOTICE

Counterparty Name          Contract/Lease       Cure Amount
